Case 1:09-cr-00020-MAC-KFG         Document 75       Filed 08/29/13     Page 1 of 1 PageID #:
                                          190




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §     CRIMINAL NO. 1:09-CR-20-MAC-KFG
                                             §
JAMES ALBERT HOPKINS                         §


                              ORDER ON REVOCATION OF
                                SUPERVISED RELEASE

       The above entitled and numbered criminal action was referred to United States

Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate

Judge, which contains his proposed findings of fact and recommendations for the disposition of

such action, has been presented for consideration. The parties waived objections to the Report

and Recommendations.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

the findings
           . and conclusions of this Court.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 29th day of August, 2013.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
